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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                      §            MDL NO. 1873
FORMALDEHYDE                             §
PRODUCT LIABILITY LITIGATION             §            SECTION “N-5”
                                         §            JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:             §
                                         §
Gregory Albert, et al v.                 §
Fleetwood Enterprises, Inc., et al       §            MAG. JUDGE CHASEZ
Civil Action No. 09-7068                 §

        PLAINTIFFS, GRACE CARROLL AND JEANA CARROLL, NOTICE OF
      VOLUNTARY DISMISSAL WITHOUT PREJUDICE UNDER FRCP 41(a)(1)(A)(i)

           NOW INTO COURT, through undersigned counsel, comes the following

  Plaintiffs herein, GRACE CARROLL and JEANA CARROLL, who, pursuant to the

  provisions of Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby gives

  notice of their voluntary dismissal, without prejudice, of their claims asserted against the

  Defendants in the Complaint previously filed in these proceedings.
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                            Respectfully submitted,

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                            _____________________________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 24, 2010, a true and correct copy of the foregoing
pleading was filed electronically using the CM/ECF system. Notice of this filing will be sent
to all known counsel by operation of the court’s electronic filing system.


                                          /s/ Robert C. Hilliard
                                          ____________________________
                                          ROBERT C. HILLIARD




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